Case 2:22-cv-05079-FLA-MAA Document 1-2 Filed 07/22/22 Page 1 of 6 Page ID #:13




                        EXHIBITB

                 Reginald Harris v. ABM Building Value, et al.
             Case 2:22-cv-05079-FLA-MAA Document 1-2 Filed 07/22/22 Page 2 of 6 Page ID #:14
,ronical!y FILED by Superior Court of California, County of Los Angeles on 05/24/2022 12:24 PM Sherri R. Carter, Executive Officer/Clerk of Court, by S. Ruiz,Deputy Clerk
                                                                                   22STCV17068
                                          Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: William Crowfoot                                   PLO -Pl -001
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Slate Sar numbar, and address):                                                                    FOR COURT USE ONLY
   '-Neils. Steiner (Bar No. 98606)
     Steiner & Libo, Professional Corporation
     11845 West Olympic Boulevard
     Suite 910W
     Los Angeles, CA 90064
         TELEPHONE NO: ( 310 ) 273-7778 FAX NO. (Optional}: (310)                                 273-7679
    E-MAIL ADDRESS (Optional):    s teinlibo@aol . com
       ATTORNEYFOR'Name':         Plaintiff REGINALD HARRIS
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF  LOS ANGELES
            STREETAODRESS:   CIVIL UNLIMITED JURISDICTION
            MAILING ADDRESS: 111 North Hill Street
           CITYANDZIPCODE: Los Angeles, CA 90012
               aRANcHNAME: Stanlev Mosk Courthouse
                PLAINTIFF: REGINALD HARRIS



                    AMB BUILDING VALUE,
               DEFENDANT:                                                 a business entity form
      unknown; ABM INDUSTRIES, INC.;                                     a business entity form
      unknown; and
       DD DOES 1 TO 50, inclusive
      COMPLAINT-Personal Injury, Property Damage, Wrongful Death
           0  AMENDED (Number):
      Type (check all that apply):
       0    MOTOR VEHICLE          DD OTHER (;pacify): PREMISES LIABILITY
                 D
                 Property Damage        Wrongful Death     D
            DD Personal Injury       DD Other Damages (specify): GENERAL
       NEGLIGENCE
       Jurisdiction (check all that apply):
       0                                                                                                                            CASE NUMBER:
             ACTION IS A LIMITED CIVIL CASE
             Amount demanded                       8
                                            does not exceed $10,000
                                            exceeds $10,000, but does not exceed $25,000                                               22STCV'1 7068
       !JD ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
       0     ACTION IS RECLASSIFIED by this amended complaint
                 D from limited to unlimited
             F7 from unlimited to limited
       1. Plaintiff (name ornames):REGINALD HARRIS
          alleges causes of action against defendant (name or names): AMB BUILDING VALUE, a business entity form unknown;
          ABM INDUSTRIES, INC.; a business entity form unknown; and DOES 1 to 50, Inclusive
       2. This pleading, including attachments and exhibils, consists of the following number of pages: Seven
       3. Each plaintiff named above Is a competent adult
          a.     D except plaintiff (name):
             (1) D a corporation qualified to do business in California
             (2)        D an unincorporated entity (describe):
             (3)        D a public entity (describe):
             (4) D        a minor D         an adult
                  (a)         D
                              for whom a guardian or conservator of the estate or a guardian ad !item has been appointed
                  (b) D other (specify):
             (5) D other (specify):

            b.    D       except plaintiff (name):
                 (1)    D        a corporation qualified to do business in California
                 (2)    D        an unincorporated entity (describe):
                  (3)   D  a public entil (djsCtibe):
                  (4)   D  a minor              an adult
                      (a) D for whom a guardian or conservator of the estate or a guardian ad !item has been appointed
                      (b)     Dother (specify):
                  (5)   D  other (specify):

               D        Information about additional plaintiffs who are not competent adults is shown in Attachment 3.                                                         Page1 of3
                                                                                                                                                         Coda of Civil Procedl.l(e, § 425.12
      Form Approved for Optlonal Use                             COMPLAINT-Personal Injury, Property
        Judicial Council of California
     PLD..Pl-001 !Rav. January 1, 2007}
                                                                     Damage, Wrongful Death
         Case 2:22-cv-05079-FLA-MAA Document 1-2 Filed 07/22/22 Page 3 of 6 Page ID #:15

                                                                                                                                            PLD-Pl-001
   SHORT TITLE:          HARRIS vs. ABM BUILDING VALUE' et al.                                                         CASE NUMBER:




    4.   D      Plaintiff (name):
                is doing business under the fictitious name (specify):

                and has complied with the fictitious business name laws.
    5.    Each defendant named above is a natural person
          a.   D  except defendant (name): AMB BUILDING VALUE                     c.   D      except defendant (name):


               (1)    [JI]   a business organization, form unknown                     ( 1)   D     a business organization, form unknown
               (2)    D      a corporation                                             (2)    D     a corporation
               (3)    D      an unincorporated entity (describe):                      (3)    D     an unincorporated entity (describe):

               (4)    D      a public entity (describe):                               (4)    D     a public entity (describe/:

               (5)    D      other {specify/:                                          (5)    D     other (specify):



          b.   Du        except defendant (name): ABM INDUSTRIES, INC.            d.   D          except defendant (name):


               (1)    Du     a business organization, form unknown                     (1)    D     a business organization, form unknown
               (2)    D      a corporation                                             (2)    D     a corporation
               (3)    D      an unincorporated entity (describe):                      (3)    D     an unincorporated entity (describe/:

               (4)    D      a public entity (describe/:                               (4)    D     a public entity (describe):

               (5)    D      other (specify):                                          (5)    D     other (specify):




          D          Information about additional defendants who are not natural persons is contained in Attachment 5.

    6.    The true names of defendants sued as Does are unknown to plaintiff.
          a.   Du       Doe defendants (specify Doe numbers/:       l - 25                              were the agents or employees of other
                        named defendants and acted within the scope of that agency or employment.

          b.   Du       Doe defendants (specify Doe numbers): 2 6       50                     are persons whose capacities are unknown to
                        plaintiff.
    7.    D          Defendants who are joined under Code of Civil Procedure section 382 are (names):




    8.    This court is the proper court because
          a.   D  at least one defendant now resides in its jurisdictional area.
          b.   D  the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
          c,   Du injury to person or damage to personal property occurred in Its jurisdictional area.
          d.   D  other (specify):




    9.   D           Plaintiff is required to comply with a claims statute, and
          a.   D        has complied with applicable claims statutes, or
          b.   D        is excused from complying because (specify):




PLO·Pl-001 [Rev. January 1, 20071                                                                                                               Page 2of3
                                                       COMPLAINT-Personal Injury, Property
                                                            Damage, Wrongful Death
       Case 2:22-cv-05079-FLA-MAA Document 1-2 Filed 07/22/22 Page 4 of 6 Page ID #:16

                                                                                                                                                           PLD-Pl-001
    SHORT TITLE: HARRIS vs. ABM BUILDING VALUE' et al.                                                                        CASE NUMBER'.




 10. The fullowing causes of action are attached and the statements above apply to each (each complaint must have one or more
     causes of action attached):
     a.     D Motor Vehicle
     b. [l[] General Negligence
     c.     D Intentional Tort
     d.     D Products Liability
     e. [l[] Premises Liability
     f.     D Other (specify):




 11. Plaintiff has suffered
       a. [l[] wage loss
       b.   D       loss of use of property
       c. [l[] hospital and medical expenses
       d. [l[] general damage
       e.   D       property damage
       f. [l[] loss of earning capacity
       g. [ [ ] other damage (specify): PlaintiffRegiMld Harris was injured in his health, strength and activity_. sustaining injury to his body and shock and
          injury to his nervous system and person, all of which caused and continue to cause great mental, physical and nervous pain and suffering. Further, plaintiff
          incurred and continues to incur medical and hospital bills. As a result, plaintiff has been damaged in an amount not yet known but exceeding the
         jurisdictional requirements for Superior Court unlimited civil cases.


 12.   D         The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
        D
       a,         listed in Attachment 12,
        D
       b.         as follows:




 13, The relief sought in this complaint is within the jurisdiction of this court.


 14, Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
       a. (1) [l[] compensatory damages
            (2)   D  punitive damages
            The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
            (1) [l[] according to proof
            (2)   D  in the amount of: $


 15.   D        The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):




 Date:      May 23,



 Neil S. Steiner
                              2022




                          (TYPE OR PRINT NAME)                                                 ►
                                                                                                                                                  V
                                                                                                              '<sJGNATURE OF PLAINTIFF OR ATTORNEY)

PLO-Pl-001 [Rav. January 1, 2007]                    COMPLAINT-Personal Injury, Property                                                                        Page3of3

                                                         Damage, Wrongful Death
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                                                                                                                                 PLD-Pl-001I4
SHORT TITLE: HARRIS vs. ABM BUILDING VALUE, et al.                                                    CASE NUMBER:




     FIRST                                       CAUSE OF ACTION-Premises Liability                                      Page FOOR
                      (number)

  ATTACHMENT TO [iu Complaint                         O    Cross-Complaint
  (Use a separate cause of acffon fonn for each cause of action.)

  Prem.L-1. Plaintiff/name): REGINALD HARRIS
           . alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
             On (date): MAY 30, 2020                        plaintiff was injured on the following premises in the following
                   fashion (description of premises and circumstances of injury):
                   On May 30, 2020, plaintiff Reginald Harris was injured as a result of
                   defendants, and each of them, failing to inspect, repair and maintain
                   and/or negligently inspecting, repairing, and maintaining the premises
                   upon which plaintiff slipped and fell on slippery flooring in the
                   restroom located in the lower level right next to the managers'
                   office of the American Airlines Terminal four (LAX), Los Angeles, CA
                   90045.




   Prem.L-2.           W      Count One--Negligence The defendants who negligently owned, maintained, managed and operated
                              the described premises were (names): AMB BUILDING VALUE, a business entity
                             form unknown; ABM INDUSTRIES, INC.; a business entity form
                             unknown; and
                             DO Does 1               to .,,5"'0_ _

   Prem.L-3.          DO Count            Two--Willful Failure to Warn   [Civil Code section 846] The defendant owners who willfully
                              or maliciously failed to guard or warn against a dangerous condition, use, structure, or activity were
                              (names):    AMB BUILDING VALUE, a business entity fonn unknown; ABM INDUSTRIES, INC.; a business entity fonn
                              unknown; and
                              DO Does ~1_ _ _ to 50
                               Plaintiff, a recreational user, was   D   an invited guest   D   a paying guest.

   Prem,L-4.           W      Count Three--Dangerous Condition of Public Property The defendants who owned public property
                              on which a dangerous condition existed were (names): AMB BUILDING VALUE, a business
                              entity form unknown; ABM INDUSTRIES, INC.; a business entity form
                              unknown; and
                                    DO Does 1              to 05c,Oc...__
                              a. D The defendant public entity had D actual D constructive notice of the existence of the
                                      dangerous condition in sufficient time prior to the injury to have corrected it.
                              b. D The condition was created by employees of the defendant public entity.

  Prem.L-5. a. [xJ Allegations about Other Defendants The defendants who were the agents and employees of the
                   other defendants and acted within the scope of the agency were (names): AMB BUILDING VALUE,
                   a business entity form unknown; ABM INDUSTRIES, INC.; a business
                  entity form unknown; and
                  W Does 1               to ""5-"'0_ _
            b. OD The defendants who are liable to plaintiffs for other reasons and the reasons for their liability are
                  D described in attachment Prem.L-5.b [J[] as follows (names):AMB BUILDING VALUE, a
                   business entity form unknown; ABM INDUSTRIES, INC.; a business
                  entity form unknown; and DOES 1 to 50.
                                                                                                                                          Pa e1of1
    Form Approved for Opl!onat Ui;e                                                                                  Code of Civil Procedure, § 425.12
       Judlclal Councn of Ca!ifornfe            CAUSE OF ACTION-Premises Liability
   PLD·Pl-001(4) [Rev. January 1, 20071
    Case 2:22-cv-05079-FLA-MAA Document 1-2 Filed 07/22/22 Page 6 of 6 Page ID #:18

                                                                                                                                     PLD-Pl-001(2)
SHORT TITLE:            HARRIS vs. ABM BUILDING VALUE, et al.                                            CASE NUMBER:




         SECOND                                  CAUSE OF ACTION-General Negligence                                          Page FIVE
                       (number)
       ATTACHMENT TO [xJ Complaint                    O     Cross-Complaint

        (Use a separate cause of action form for each cause of acUon.)

        GN-1. Plalntlff(nameJ:             REGINALD HARRIS

                  alleges that defendant (name): AMB BUILDING VALUE, a business entity form unknown;
                  ABM INDUSTRIES, INC.; a business entity form unknown; and



                             [xJ       Does ,,_1_ _ to50,   inclusive

                   was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
                   negligently caused the damage to plaintiff
                   on (date): May 30, 2020
          at (place): Restroom located in the lower lever of American Airlines, Terminal 4,
          (LAX), Los Angeles, CA 90045.
          /description of reasons for liability):
On May 30, 2020, plaintiff was injured as a result of defendants, and each of them,
failing to inspect, repair and maintain and/or negligently inspecting, repairing and
maintaining the premises upon which plaintiff fell. At such time and place, Plaintiff
was in the restoom located next to the door to the managers' office of the American
Airlines of Terminal 4, ground level, when all of a sudden he slipped and fell on wet
and slippery flooring surface. There were no warning signs of the dangerous condition.

Defendants and each of them, were negligent in that they failed to inspect, control and
maintain the subject premises despite knowledge, or the ability to have knowledge, of
the dangerous condition, and took no action to warn the patrons and/or allowed the
dangerous condition to exist for such a length of time that if defendants had exercised
reasonable care in inspecting the premises, they would have discovered the dangerous
condition in time to remedy it or give warning before plaintiff was injured. As a
result, plaintiff's total damages are in an amount unknown at this time but which far
exceeds the jurisdictional limits for Superor Court Unlimited Civil Cases.




                                                                                                                                           Pa e1 of1
  Forni />f:)proved tor OpUonal Use                                                                                     Code of Civil Procedure 425. 12
   Judicial COUflc!l of California
PLD-Pl-001{2) [Rev. January 1, 2007]
                                               CAUSE OF ACTION-General Negligence
